Case 9:03-cv-80295-DMM Document 18 Entered on FLSD Docket 05/02/2003 Page 1 of 2

nO 440 Rev. 10/2002) Summons in a Civil Case (Reverse) (o> G CASON OM,

 

 

 

 

RSTURN OF SERVICE
Service of the Summons and Complaint was made by me' DATE 929 AfRiL Zour
NAME OF SERVER (PRINT) Worn Feeberice mH. 87 TITLE PRevets Seeure

 

Check one box below to indicate appropriate method of service

 

G__ Served personally upon the defendant. Place where served: Cha PHoEMin Howse Soar TAGES
(SLAAD  HAMeD Cougs Tr T3'2 BEA Eroocayd

G Left copies thereof at the defendant’s dwelling house or usual place of abode with a person of suitable
age and discretion then residing therein.

Name of person with whom the summons and complaint were left:

 

 

Gs Returned unexecuted:

 

 

 

 

G Other (specify):

 

 

 

 

 

 

 

c S> :
& _. w .
STATEMENT OF SERVICE FEES me >
TRAVEL SERVICES TOTAL woe row
DECLARATION OF SERVER

 

vi

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I declare under penalty of perjury under the laws of the United States of America that the foregoing ,

information contained in the Return of Service and Statement of Service Fees is true and correct.

¢
Executed on 23 Mew rasa Want

Signature of Server

 

Date

 

TAL Ser eto ue

Address of Server
SUL AN STEAD
Rw? Gd
ENOG CARD

 

 

 

(D As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure. ¢

 
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ME
Bm

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FT. 2

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UNITED STATES DISTRICT COURT
Southern District of Florida
Case Number:
-80295
EMARKETERSAMERICA.ORG, INC., ed
A Florida Non Profit Corporation, CIV MID
-MT 5 on,

Plaintifé, DLEBROOKS
VS.
THE SPAMHAUS PROJECT d/b/a MAGISTRATE JUDGE
SPAMHAUS.ORG, et. al., JOHNSON

Defendants.

/ wid (7 APRiL 2osd
SUMMONS IN A CIVIL CASE BERVED _,t- Cv Ee
BATE 22 Arr 0 TIME _ pe

TO: STEVE LINFORD ps dows Fase Sate

c/o UltraDesign Technology Ltd. (Print ¢ Saga Mame}

The Phoenix ‘ a.

BERNAIED IN THE CARCUIT COURT
Taggs Island f ED

Hampton Court
United Kingdom TW12 2HA

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY,

FELSTEIN & ASSOCIATES, P.A.
Attorneys for EMarketersAmerica.org, Inc.
555 South Federal Highway, Suite 450
Boca Raton, Florida 33432
(561) 367-7990 Phone
(561) 367-7980 Facsimile

an answer to the complaint which is herewith served upon you, within twenty (20) days after
service of this summons upon you, exclusive of the day of service. If you fail to do so, judgment
by default will be taken against you for the relief demanded in the complaint. You must also file
your answer with the Clerk of this Court within a reasonable period of time after service.

 

 

 

Clarence Maddox APR 1.4 2003
CLERK DATE
(BY) DEPUTY CLERK

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PO? QyDICIAL CIRCUIT CERT.

 
